Case 3:20-cv-01018-RAH-SRW Document 115-7 Filed 12/14/21 Page 1 of 62




                EXHIBIT
                   F
  Case
  Case3:20-cv-01018-RAH-SRW
       3:20-cv-01018-RAH-SRW Document
                             Document115-7
                                      69-1 Filed
                                           Filed04/19/21
                                                 12/14/21 Page
                                                          Page12of
                                                                of61
                                                                   62




            IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF ALABAMA
                      EASTERN DIVISION

MADISEN ULRICH,           )
                          )
     Plaintiff,           )
                          )
v.                        )           Case No.: 3:20-cv-1018-RAH-SRW
                          )
319 BRAGG STUDENT HOUSING )
AUBURN, AL, et al.,       )
                          )
     Defendants.          )

   CSX TRANSPORTATION, INC.’S EVIDENTIARY SUBMISSION
    IN SUPPORT OF IT’S MOTION FOR SUMMARY JUDGMENT



                             Exhibit 1
Case
Case3:20-cv-01018-RAH-SRW
     3:20-cv-01018-RAH-SRW Document
                           Document115-7
                                    69-1 Filed
                                         Filed04/19/21
                                               12/14/21 Page
                                                        Page23of
                                                              of61
                                                                 62
Case
Case3:20-cv-01018-RAH-SRW
     3:20-cv-01018-RAH-SRW Document
                           Document115-7
                                    69-1 Filed
                                         Filed04/19/21
                                               12/14/21 Page
                                                        Page34of
                                                              of61
                                                                 62
Case
Case3:20-cv-01018-RAH-SRW
     3:20-cv-01018-RAH-SRW Document
                           Document115-7
                                    69-1 Filed
                                         Filed04/19/21
                                               12/14/21 Page
                                                        Page45of
                                                              of61
                                                                 62
Case
Case3:20-cv-01018-RAH-SRW
     3:20-cv-01018-RAH-SRW Document
                           Document115-7
                                    69-1 Filed
                                         Filed04/19/21
                                               12/14/21 Page
                                                        Page56of
                                                              of61
                                                                 62
Case
Case3:20-cv-01018-RAH-SRW
     3:20-cv-01018-RAH-SRW Document
                           Document115-7
                                    69-1 Filed
                                         Filed04/19/21
                                               12/14/21 Page
                                                        Page67of
                                                              of61
                                                                 62
  Case
  Case3:20-cv-01018-RAH-SRW
       3:20-cv-01018-RAH-SRW Document
                             Document115-7
                                      69-1 Filed
                                           Filed04/19/21
                                                 12/14/21 Page
                                                          Page78of
                                                                of61
                                                                   62




            IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF ALABAMA
                      EASTERN DIVISION

MADISEN ULRICH,           )
                          )
     Plaintiff,           )
                          )
v.                        )           Case No.: 3:20-cv-1018-RAH-SRW
                          )
319 BRAGG STUDENT HOUSING )
AUBURN, AL, et al.,       )
                          )
     Defendants.          )

                   AFFIDAVIT OF MICHAEL RAY




                            Exhibit A
                                                  Case
                                                  Case3:20-cv-01018-RAH-SRW
                                                       3:20-cv-01018-RAH-SRW Document
                                                                             Document115-7
                                                                                      69-1 Filed
                                                                                           Filed04/19/21
                                                                                                 12/14/21 Page
                                                                                                          Page89of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϰϴ        ϰ        Ϯϯϵϴ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϰϵ        ϰ        Ϯϯϯϳ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϬ        ϰ        ϮϮϳϲ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϭ        ϰ        ϮϮϭϱ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϮ        ϰ        Ϯϭϱϱ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϯ        ϰ        ϮϬϵϰ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϰ        ϰ        ϮϬϯϯ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϱ        ϰ        ϭϵϳϮ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϲ        ϰ        ϭϵϭϭ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϳ        ϰ        ϭϴϱϭ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϴ        ϰ        ϭϳϵϬ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϵ        ϰ        ϭϳϮϵ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϬϬ        ϰ        ϭϲϲϴ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϭ        ϰ        ϭϲϬϳ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϬϮ        ϰ        ϭϱϰϲ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϯ        ϰ        ϭϰϴϲ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϰ        ϰ        ϭϰϮϱ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϱ        ϰ        ϭϯϲϰ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϲ        ϰ        ϭϯϬϯ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϳ        ϰ        ϭϮϰϮ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϴ        ϰ        ϭϭϴϮ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϵ        ϰ        ϭϭϮϭ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϬ        ϰ        ϭϬϲϬ          ϰϭ         ϯϭ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϭ        ϰ         ϵϵϵ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϮ        ϰ         ϵϯϴ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϯ        ϰ         ϴϳϴ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϰ        ϰ         ϴϭϳ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϱ        ϰ         ϳϱϲ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϲ        ϰ         ϲϵϱ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϳ        ϰ         ϲϯϰ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϴ        ϰ         ϱϳϰ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϵ        ϰ         ϱϭϯ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϮϬ        ϰ         ϰϱϮ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϭ        ϰ         ϯϵϭ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϮϮ        ϰ         ϯϯϬ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϯ        ϰ         Ϯϲϵ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
                                             Case
                                              Case3:20-cv-01018-RAH-SRW
                                                   3:20-cv-01018-RAH-SRW Document
                                                                          Document115-7
                                                                                   69-1 Filed 04/19/21
                                                                                              12/14/21 Page 9
                                                                                                            10ofof61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϯ       ϴϱϯϮϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϯ       ϴϱϯϮϭϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϯ       ϴϱϯϮϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϯ       ϴϱϯϮϭϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϯ       ϴϱϯϮϭϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϯ       ϴϱϯϮϭϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϯ       ϴϱϯϮϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϭϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϭϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϭϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϭϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϮ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϭϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϬϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϬϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϬϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϬϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϰ       ϴϱϯϮϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϮϬϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϮϬϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϮϬϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϮϬϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϮϬϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϮϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϮϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϮϬϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϮϬϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϭϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϭϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϱ       ϴϱϯϭϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϱ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page10
                                                                                                             11of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϰϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϰϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϮ͗ϱϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϬϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϬϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϮϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϯϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϮϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϯϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page11
                                                                                                              12of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϰ        ϰ         ϮϬϵ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϱ        ϰ         ϭϰϴ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϲ        ϰ          ϴϳ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϳ        ϰ          Ϯϲ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϴ        ϯ        ϱϮϰϱ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϵ        ϯ        ϱϭϴϱ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϬ        ϯ        ϱϭϮϰ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϭ        ϯ        ϱϬϲϰ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϮ        ϯ        ϱϬϬϯ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϯ        ϯ        ϰϵϰϯ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϰ        ϯ        ϰϴϴϯ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϱ        ϯ        ϰϴϮϮ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϲ        ϯ        ϰϳϲϮ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϳ        ϯ        ϰϳϬϮ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϴ        ϯ        ϰϲϰϮ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϵ        ϯ        ϰϱϴϭ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϬ        ϯ        ϰϱϮϭ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϭ        ϯ        ϰϰϲϭ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϮ        ϯ        ϰϰϬϭ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϯ        ϯ        ϰϯϰϬ          ϰϭ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϰ        ϯ        ϰϮϴϬ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϱ        ϯ        ϰϮϮϬ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϲ        ϯ        ϰϭϲϬ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϳ        ϯ        ϰϭϬϭ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϴ        ϯ        ϰϬϰϭ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϵ        ϯ        ϯϵϴϭ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϬ        ϯ        ϯϵϮϮ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϭ        ϯ        ϯϴϲϮ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϮ        ϯ        ϯϴϬϮ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϯ        ϯ        ϯϳϰϯ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϰ        ϯ        ϯϲϴϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϱ        ϯ        ϯϲϮϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϲ        ϯ        ϯϱϲϱ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϳ        ϯ        ϯϱϬϲ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϴ        ϯ        ϯϰϰϳ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϵ        ϯ        ϯϯϴϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page12
                                                                                                          13of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϲ       ϴϱϯϭϱϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϳ       ϴϱϯϭϰϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϰϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϰϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϯϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϯϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϯϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϯϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϯϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϯϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϯϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϴ       ϴϱϯϭϯϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϯϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϯϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϯϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϯϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϯϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϯϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϯϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϯ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϮϵ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page13
                                                                                                             14of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϯϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϯϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϯϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϯϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϯϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗Ϯϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϯϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϰϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϯ͗ϱϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page14
                                                                                                              15of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϬϬ        ϯ        ϯϯϮϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϭ        ϯ        ϯϮϲϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϬϮ        ϯ        ϯϮϭϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϯ        ϯ        ϯϭϱϭ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϰ        ϯ        ϯϬϵϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϱ        ϯ        ϯϬϯϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϲ        ϯ        Ϯϵϳϯ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϳ        ϯ        Ϯϵϭϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϴ        ϯ        Ϯϴϱϲ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϵ        ϯ        Ϯϳϵϳ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϬ        ϯ        Ϯϳϯϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϭ        ϯ        ϮϲϴϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϮ        ϯ        ϮϲϮϭ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϯ        ϯ        ϮϱϲϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϰ        ϯ        ϮϱϬϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϱ        ϯ        Ϯϰϰϱ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϲ        ϯ        Ϯϯϴϲ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϳ        ϯ        ϮϯϮϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϴ        ϯ        ϮϮϲϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϵ        ϯ        ϮϮϭϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϮϬ        ϯ        ϮϭϱϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϭ        ϯ        ϮϬϵϯ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϮϮ        ϯ        ϮϬϯϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϯ        ϯ        ϭϵϳϲ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϰ        ϯ        ϭϵϭϳ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϱ        ϯ        ϭϴϱϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϲ        ϯ        ϭϴϬϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϳ        ϯ        ϭϳϰϭ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϴ        ϯ        ϭϲϴϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϵ        ϯ        ϭϲϮϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϬ        ϯ        ϭϱϲϱ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϭ        ϯ        ϭϱϬϲ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϮ        ϯ        ϭϰϰϳ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϯ        ϯ        ϭϯϴϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϰ        ϯ        ϭϯϮϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϱ        ϯ        ϭϮϲϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page15
                                                                                                          16of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϮϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϮϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϮϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϬϵ       ϴϱϯϭϮϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϭϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϭϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϬ       ϴϱϯϭϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϭ       ϴϱϯϭϭϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϭ       ϴϱϯϭϭϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϭ       ϴϱϯϭϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϭ       ϴϱϯϭϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϭ       ϴϱϯϭϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϭ       ϴϱϯϭϭϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϭ       ϴϱϯϭϭϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϭ       ϴϱϯϭϭϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϭ       ϴϱϯϭϭϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϮ       ϴϱϯϭϭϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϮ       ϴϱϯϭϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϮ       ϴϱϯϭϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϮ       ϴϱϯϭϬϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϯ       ϴϱϯϭϬϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϯ       ϴϱϯϭϬϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϯ       ϴϱϯϭϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϯ       ϴϱϯϭϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϰ       ϴϱϯϭϬϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϰ       ϴϱϯϭϬϱ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page16
                                                                                                             17of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϬϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϬϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϮϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϯϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϮϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϯϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϯϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϯϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϯϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϯϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϯϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗Ϯϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page17
                                                                                                              18of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϲ        ϯ        ϭϮϭϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϳ        ϯ        ϭϭϱϭ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϴ        ϯ        ϭϬϵϮ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϵ        ϯ        ϭϬϯϯ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϬ        ϯ         ϵϳϯ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϭ        ϯ         ϵϭϰ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϮ        ϯ         ϴϱϱ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϯ        ϯ         ϳϵϲ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϰ        ϯ         ϳϯϲ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϱ        ϯ         ϲϳϳ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϲ        ϯ         ϲϭϴ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϳ        ϯ         ϱϱϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϴ        ϯ         ϱϬϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϵ        ϯ         ϰϰϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϬ        ϯ         ϯϴϭ          ϰϬ         ϯϮ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϭ        ϯ         ϯϮϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϮ        ϯ         Ϯϲϯ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϯ        ϯ         ϮϬϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϰ        ϯ         ϭϰϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϱ        ϯ          ϴϱ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϲ        ϯ          Ϯϲ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϳ        Ϯ        ϱϮϰϳ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϴ        Ϯ        ϱϭϴϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϵ        Ϯ        ϱϭϮϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϬϬ        Ϯ        ϱϬϲϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϭ        Ϯ        ϱϬϭϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϬϮ        Ϯ        ϰϵϱϭ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϯ        Ϯ        ϰϴϵϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϰ        Ϯ        ϰϴϯϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϱ        Ϯ        ϰϳϳϯ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϲ        Ϯ        ϰϳϭϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϳ        Ϯ        ϰϲϱϱ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϴ        Ϯ        ϰϱϵϱ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϵ        Ϯ        ϰϱϯϲ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϬ        Ϯ        ϰϰϳϳ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϭ        Ϯ        ϰϰϭϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page18
                                                                                                          19of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϰ       ϴϱϯϭϬϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϰ       ϴϱϯϭϬϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϰ       ϴϱϯϭϬϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϱ       ϴϱϯϭϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϱ       ϴϱϯϭϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϱ       ϴϱϯϭϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϱ       ϴϱϯϭϬϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϱ       ϴϱϯϭϬϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϲ       ϴϱϯϬϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϲ       ϴϱϯϬϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϲ       ϴϱϯϬϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϳ       ϴϱϯϬϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϳ       ϴϱϯϬϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϳ       ϴϱϯϬϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϳ       ϴϱϯϬϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϴ       ϴϱϯϬϱϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϴ       ϴϱϯϬϱϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϴ       ϴϱϯϬϱϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϴ       ϴϱϯϬϱϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϵ       ϴϱϯϬϱϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϵ       ϴϱϯϬϱϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϵ       ϴϱϯϬϱϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϵ       ϴϱϯϬϱϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϰ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϭϵ       ϴϱϯϬϱϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϬ       ϴϱϯϬϰϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϬ       ϴϱϯϬϰϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϬ       ϴϱϯϬϰϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϬ       ϴϱϯϬϰϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϭ       ϴϱϯϬϰϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϭ       ϴϱϯϬϰϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϭ       ϴϱϯϬϰϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϭ       ϴϱϯϬϰϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϭ       ϴϱϯϬϰϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϮ       ϴϱϯϬϰϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϮ       ϴϱϯϬϰϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϮ       ϴϱϯϬϰϮ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page19
                                                                                                             20of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϯϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϰϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϰ͗ϱϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϬϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϬϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page20
                                                                                                              21of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϮ        Ϯ        ϰϯϱϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϯ        Ϯ        ϰϮϵϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϰ        Ϯ        ϰϮϰϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϱ        Ϯ        ϰϭϴϭ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϲ        Ϯ        ϰϭϮϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϳ        Ϯ        ϰϬϲϯ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϴ        Ϯ        ϰϬϬϯ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϵ        Ϯ        ϯϵϰϰ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϮϬ        Ϯ        ϯϴϴϱ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϭ        Ϯ        ϯϴϮϳ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϮϮ        Ϯ        ϯϳϲϴ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϯ        Ϯ        ϯϳϬϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϰ        Ϯ        ϯϲϱϭ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϱ        Ϯ        ϯϱϵϮ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϲ        Ϯ        ϯϱϯϯ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϳ        Ϯ        ϯϰϳϱ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϴ        Ϯ        ϯϰϭϲ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϵ        Ϯ        ϯϯϱϳ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϬ        Ϯ        ϯϮϵϵ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϭ        Ϯ        ϯϮϰϬ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϮ        Ϯ        ϯϭϴϭ          ϰϬ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϯ        Ϯ        ϯϭϮϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϰ        Ϯ        ϯϬϲϱ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϱ        Ϯ        ϯϬϬϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϲ        Ϯ        Ϯϵϰϴ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϳ        Ϯ        ϮϴϵϬ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϴ        Ϯ        ϮϴϯϮ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϵ        Ϯ        Ϯϳϳϰ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϬ        Ϯ        Ϯϳϭϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϭ        Ϯ        Ϯϲϱϴ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϮ        Ϯ        Ϯϱϵϵ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϯ        Ϯ        Ϯϱϰϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϰ        Ϯ        Ϯϰϴϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϱ        Ϯ        ϮϰϮϱ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϲ        Ϯ        Ϯϯϲϳ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϳ        Ϯ        ϮϯϬϵ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page21
                                                                                                          22of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϯ       ϴϱϯϬϰϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϯ       ϴϱϯϬϰϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϯ       ϴϱϯϬϰϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϯ       ϴϱϯϬϰϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϰ       ϴϱϯϬϯϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϰ       ϴϱϯϬϯϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϰ       ϴϱϯϬϯϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϰ       ϴϱϯϬϯϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϰ       ϴϱϯϬϯϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϰ       ϴϱϯϬϯϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϱ       ϴϱϯϬϯϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϱ       ϴϱϯϬϯϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϱ       ϴϱϯϬϯϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϱ       ϴϱϯϬϯϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϲ       ϴϱϯϬϯϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϲ       ϴϱϯϬϯϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϲ       ϴϱϯϬϯϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϲ       ϴϱϯϬϯϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϳ       ϴϱϯϬϯϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϳ       ϴϱϯϬϯϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϳ       ϴϱϯϬϯϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϳ       ϴϱϯϬϮϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϴ       ϴϱϯϬϮϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϴ       ϴϱϯϬϮϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϴ       ϴϱϯϬϮϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϴ       ϴϱϯϬϮϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϴ       ϴϱϯϬϮϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϵ       ϴϱϯϬϮϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϵ       ϴϱϯϬϮϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϮϵ       ϴϱϯϬϮϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϬ       ϴϱϯϬϮϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϬ       ϴϱϯϬϮϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϬ       ϴϱϯϬϮϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϬ       ϴϱϯϬϮϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϭ       ϴϱϯϬϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϭ       ϴϱϯϬϮϬ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page22
                                                                                                             23of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϮϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϯϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϮϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϯϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϯϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϯϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϯϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϯϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϯϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗Ϯϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϯϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page23
                                                                                                              24of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϴ        Ϯ        ϮϮϱϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϵ        Ϯ        ϮϭϵϮ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϬ        Ϯ        Ϯϭϯϰ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϭ        Ϯ        ϮϬϳϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϮ        Ϯ        ϮϬϭϴ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϯ        Ϯ        ϭϵϲϬ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϰ        Ϯ        ϭϵϬϮ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϱ        Ϯ        ϭϴϰϰ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϲ        Ϯ        ϭϳϴϱ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϳ        Ϯ        ϭϳϮϳ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϴ        Ϯ        ϭϲϲϵ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϵ        Ϯ        ϭϲϭϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϬϬ        Ϯ        ϭϱϱϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϭ        Ϯ        ϭϰϵϱ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϬϮ        Ϯ        ϭϰϯϳ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϯ        Ϯ        ϭϯϳϴ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϰ        Ϯ        ϭϯϮϬ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϱ        Ϯ        ϭϮϲϮ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϲ        Ϯ        ϭϮϬϰ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϳ        Ϯ        ϭϭϰϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϴ        Ϯ        ϭϬϴϴ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϵ        Ϯ        ϭϬϯϬ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϬ        Ϯ         ϵϳϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϭ        Ϯ         ϵϭϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϮ        Ϯ         ϴϱϱ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϯ        Ϯ         ϳϵϳ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϰ        Ϯ         ϳϯϵ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϱ        Ϯ         ϲϴϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϲ        Ϯ         ϲϮϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϳ        Ϯ         ϱϲϰ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϴ        Ϯ         ϱϬϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϵ        Ϯ         ϰϰϴ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϮϬ        Ϯ         ϯϵϬ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϭ        Ϯ         ϯϯϮ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϮϮ        Ϯ         Ϯϳϰ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϯ        Ϯ         Ϯϭϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page24
                                                                                                          25of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϭ       ϴϱϯϬϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϭ       ϴϱϯϬϭϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϭ       ϴϱϯϬϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϮ       ϴϱϯϬϭϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϮ       ϴϱϯϬϭϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϮ       ϴϱϯϬϭϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϮ       ϴϱϯϬϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϯ       ϴϱϯϬϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϯ       ϴϱϯϬϭϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϯ       ϴϱϯϬϭϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϯ       ϴϱϯϬϭϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϱ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϰ       ϴϱϯϬϭϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϰ       ϴϱϯϬϭϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϰ       ϴϱϯϬϭϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϰ       ϴϱϯϬϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϰ       ϴϱϯϬϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϱ       ϴϱϯϬϬϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϱ       ϴϱϯϬϬϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϱ       ϴϱϯϬϬϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϱ       ϴϱϯϬϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϱ       ϴϱϯϬϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϯϬϬϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϳ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page25
                                                                                                             26of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϰϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϱ͗ϱϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϬϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϬϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϮϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϯϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϮϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϯϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page26
                                                                                                              27of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϰ        Ϯ         ϭϱϳ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϱ        Ϯ          ϵϵ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϲ        Ϯ          ϰϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϳ        ϭ        ϱϮϲϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϴ        ϭ        ϱϮϬϱ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϵ        ϭ        ϱϭϰϳ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϬ        ϭ        ϱϬϴϵ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϭ        ϭ        ϱϬϯϬ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϮ        ϭ        ϰϵϳϮ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϯ        ϭ        ϰϵϭϰ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϰ        ϭ        ϰϴϱϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϱ        ϭ        ϰϳϵϴ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϲ        ϭ        ϰϳϰϬ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϳ        ϭ        ϰϲϴϮ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϴ        ϭ        ϰϲϮϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϵ        ϭ        ϰϱϲϱ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϬ        ϭ        ϰϱϬϳ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϭ        ϭ        ϰϰϰϵ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϮ        ϭ        ϰϯϵϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϯ        ϭ        ϰϯϯϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϰ        ϭ        ϰϮϳϱ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϱ        ϭ        ϰϮϭϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϲ        ϭ        ϰϭϱϴ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϳ        ϭ        ϰϭϬϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϴ        ϭ        ϰϬϰϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϵ        ϭ        ϯϵϴϱ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϬ        ϭ        ϯϵϮϴ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϭ        ϭ        ϯϴϳϬ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϮ        ϭ        ϯϴϭϯ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϯ        ϭ        ϯϳϱϱ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϰ        ϭ        ϯϲϵϳ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϱ        ϭ        ϯϲϰϬ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϲ        ϭ        ϯϱϴϮ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϳ        ϭ        ϯϱϮϱ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϴ        ϭ        ϯϰϲϳ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϵ        ϭ        ϯϰϬϵ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page27
                                                                                                          28of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϱϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϰϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϲ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϯ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page28
                                                                                                             29of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϯϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϯϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϯϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϯϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϯϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗Ϯϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϯϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϰϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϲ͗ϱϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page29
                                                                                                              30of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϬϬ        ϭ        ϯϯϱϮ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϭ        ϭ        ϯϮϵϰ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϬϮ        ϭ        ϯϮϯϳ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϯ        ϭ        ϯϭϳϵ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϰ        ϭ        ϯϭϮϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϱ        ϭ        ϯϬϲϰ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϲ        ϭ        ϯϬϬϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϳ        ϭ        Ϯϵϰϵ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϴ        ϭ        Ϯϴϵϭ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϵ        ϭ        Ϯϴϯϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϬ        ϭ        Ϯϳϳϲ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϭ        ϭ        Ϯϳϭϴ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϮ        ϭ        ϮϲϲϬ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϯ        ϭ        ϮϲϬϯ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϰ        ϭ        Ϯϱϰϱ          ϯϵ         ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϱ        ϭ        Ϯϰϴϴ          ϯϵ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϲ        ϭ        ϮϰϯϬ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϳ        ϭ        Ϯϯϳϯ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϴ        ϭ        Ϯϯϭϲ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϵ        ϭ        ϮϮϱϵ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϮϬ        ϭ        ϮϮϬϮ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϭ        ϭ        Ϯϭϰϱ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϮϮ        ϭ        ϮϬϴϴ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϯ        ϭ        ϮϬϯϭ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϰ        ϭ        ϭϵϳϯ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϱ        ϭ        ϭϵϭϲ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϲ        ϭ        ϭϴϱϵ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϳ        ϭ        ϭϴϬϮ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϴ        ϭ        ϭϳϰϱ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϵ        ϭ        ϭϲϴϴ          ϯϴ         ϯϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϴ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϬ        ϭ        ϭϲϯϭ          ϯϴ         Ϯϴ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϱ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϭ        ϭ        ϭϱϳϰ          ϯϴ         Ϯϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϮ        ϭ        ϭϱϭϳ          ϯϴ         ϭϴ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϯ        ϭ        ϭϰϲϭ          ϯϴ         ϭϴ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϰ        ϭ        ϭϰϬϰ          ϯϴ         ϭϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϱ        ϭ        ϭϯϰϴ          ϯϴ         ϭϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page30
                                                                                                          31of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϯϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϴ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page31
                                                                                                             32of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϬϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϬϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϭϵ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϮϬ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϯϭ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϮϮ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϯϯ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϯϰ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϯϱ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϯϲ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϯϳ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϯϴ   KŶ            KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗Ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page32
                                                                                                              33of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϲ        ϭ        ϭϮϵϭ          ϯϴ         ϭϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϳ        ϭ        ϭϮϯϱ          ϯϴ         ϭϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϴ        ϭ        ϭϭϳϴ          ϯϴ         ϭϯ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϵ        ϭ        ϭϭϮϮ          ϯϴ         ϭϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϬ        ϭ        ϭϬϲϱ          ϯϴ         ϭϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϭ        ϭ        ϭϬϬϴ          ϯϴ         ϭϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϮ        ϭ         ϵϱϮ          ϯϴ         ϭϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϯ        ϭ         ϴϵϱ          ϯϴ         ϭϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϰ        ϭ         ϴϯϵ          ϯϴ         ϭϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϱ        ϭ         ϳϴϮ          ϯϴ         ϭϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϲ        ϭ         ϳϮϲ          ϯϴ         ϭϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϳ        ϭ         ϲϳϬ          ϯϴ         ϭϰ         ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϴ        ϭ         ϲϭϰ          ϯϴ           ϱ        ϴϵ          Ϭ           ϴϳ        ϴϵ dϰ               Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϵ        ϭ         ϱϱϴ          ϯϴ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϬ        ϭ         ϱϬϮ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϭ        ϭ         ϰϰϲ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϮ        ϭ         ϯϵϭ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϯ        ϭ         ϯϯϱ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϰ        ϭ         ϮϴϬ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϱ        ϭ         ϮϮϰ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϲ        ϭ         ϭϲϵ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϳ        ϭ         ϭϭϯ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϴ        ϭ          ϱϴ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϵ        ϭ           ϯ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϬϬ        Ϭ        ϱϮϮϴ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϭ        Ϭ        ϱϭϳϯ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϬϮ        Ϭ        ϱϭϭϴ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϯ        Ϭ        ϱϬϲϯ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϰ        Ϭ        ϱϬϬϴ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϱ        Ϭ        ϰϵϱϯ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϲ        Ϭ        ϰϴϵϴ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϳ        Ϭ        ϰϴϰϰ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϴ        Ϭ        ϰϳϵϬ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϵ        Ϭ        ϰϳϯϱ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϬ        Ϭ        ϰϲϴϭ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϭ        Ϭ        ϰϲϮϲ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page33
                                                                                                          34of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϵϬϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϳ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϲ       ϴϱϮϴϱϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϳ       ϴϱϮϴϰϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϳ       ϴϱϮϴϰϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϳ       ϴϱϮϴϰϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϳ       ϴϱϮϴϰϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϳ       ϴϱϮϴϰϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϳ       ϴϱϮϴϰϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϴ       ϴϱϮϴϰϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϴ       ϴϱϮϴϰϱ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page34
                                                                                                             35of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϰϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϳ͗ϱϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϬϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϬϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page35
                                                                                                              36of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη       ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů    ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϮ        Ϭ        ϰϱϳϮ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϯ        Ϭ        ϰϱϭϴ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϰ        Ϭ        ϰϰϲϯ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϱ        Ϭ        ϰϰϬϵ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ              Ϯ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϲ        Ϭ        ϰϯϱϰ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ              ϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϳ        Ϭ        ϰϯϬϬ          ϯϳ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ              ϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϴ        Ϭ        ϰϮϰϱ          ϯϲ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ              ϱ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϵ        Ϭ        ϰϭϵϮ          ϯϲ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϯϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϮϬ        Ϭ        ϰϭϯϴ          ϯϲ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϯϱ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϭ        Ϭ        ϰϬϴϰ          ϯϲ           Ϭ        ϴϵ          Ϭ           ϴϳ        ϴϵ /ĚůĞ             Ϯϱ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϮϮ        Ϭ        ϰϬϯϭ          ϯϲ           ϰ        ϴϱ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϯ        Ϭ        ϯϵϳϴ          ϯϲ           ϰ        ϴϱ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϰ        Ϭ        ϯϵϮϱ          ϯϲ           ϰ        ϴϯ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϱ        Ϭ        ϯϴϳϯ          ϯϲ           ϰ        ϴϯ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϲ        Ϭ        ϯϴϮϬ          ϯϱ           ϰ        ϴϯ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϳ        Ϭ        ϯϳϲϴ          ϯϱ           ϰ        ϴϯ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϴ        Ϭ        ϯϳϭϱ          ϯϱ           ϰ        ϴϯ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϵ        Ϭ        ϯϲϲϯ          ϯϱ           ϰ        ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϬ        Ϭ        ϯϲϭϭ          ϯϱ           ϰ        ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϭ        Ϭ        ϯϱϱϴ          ϯϱ           ϰ        ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             Ϯϱ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϮ        Ϭ        ϯϱϬϲ          ϯϱ           ϱ        ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϯϴ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϯ        Ϭ        ϯϰϱϰ          ϯϱ           ϱ        ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϯϴ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϰ        Ϭ        ϯϰϬϯ          ϯϱ           ϴ        ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϱ        Ϭ        ϯϯϱϭ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϲ        Ϭ        ϯϯϬϬ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϳ        Ϭ        ϯϮϰϵ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϴ        Ϭ        ϯϭϵϳ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϵ        Ϭ        ϯϭϰϲ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϬ        Ϭ        ϯϬϵϱ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϭ        Ϭ        ϯϬϰϰ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϮ        Ϭ        Ϯϵϵϰ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϯ        Ϭ        Ϯϵϰϯ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϰ        Ϭ        ϮϴϵϮ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϱ        Ϭ        ϮϴϰϮ          ϯϰ         ϭϬ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϲ        Ϭ        Ϯϳϵϭ          ϯϰ         ϭϭ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϳ        Ϭ        Ϯϳϰϭ          ϯϰ         ϭϭ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page36
                                                                                                          37of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϴ       ϴϱϮϴϰϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϴ       ϴϱϮϴϰϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϵ       ϴϱϮϴϰϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϵ       ϴϱϮϴϰϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϵ       ϴϱϮϴϰϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϵ       ϴϱϮϴϰϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϵ       ϴϱϮϴϰϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϯϵ       ϴϱϮϴϰϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϬ       ϴϱϮϴϯϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϬ       ϴϱϮϴϯϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϬ       ϴϱϮϴϯϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϬ       ϴϱϮϴϯϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϬ       ϴϱϮϴϯϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϬ       ϴϱϮϴϯϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϭ       ϴϱϮϴϯϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϭ       ϴϱϮϴϯϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϭ       ϴϱϮϴϯϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϭ       ϴϱϮϴϯϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϭ       ϴϱϮϴϯϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϮ       ϴϱϮϴϯϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϮ       ϴϱϮϴϯϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϮ       ϴϱϮϴϯϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϯ       ϴϱϮϴϯϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϯ       ϴϱϮϴϯϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϯ       ϴϱϮϴϯϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϯ       ϴϱϮϴϯϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϯ       ϴϱϮϴϯϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϰ       ϴϱϮϴϮϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϰ       ϴϱϮϴϮϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϰ       ϴϱϮϴϮϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϰ       ϴϱϮϴϮϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϰ       ϴϱϮϴϮϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϱ       ϴϱϮϴϮϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϱ       ϴϱϮϴϮϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϱ       ϴϱϮϴϮϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϱ       ϴϱϮϴϮϲ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page37
                                                                                                             38of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ZĞůĞĂƐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϮϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϮϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗Ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page38
                                                                                                              39of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη       ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů    ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϴ        Ϭ        Ϯϲϵϭ          ϯϰ         ϭϭ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϵ        Ϭ        ϮϲϰϬ          ϯϯ         ϭϭ         ϴϮ          Ϭ           ϴϳ        ϴϭ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϬ        Ϭ        Ϯϱϵϭ          ϯϯ         ϭϭ         ϳϵ          Ϭ           ϴϮ        ϳϰ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϭ        Ϭ        Ϯϱϰϭ          ϯϯ         ϭϭ         ϳϳ          Ϭ           ϴϮ        ϳϬ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϮ        Ϭ        ϮϰϵϮ          ϯϯ         ϭϭ         ϳϳ          Ϭ           ϴϮ        ϳϬ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϯ        Ϭ        Ϯϰϰϯ          ϯϯ         ϭϭ         ϳϳ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϰ        Ϭ        Ϯϯϵϰ          ϯϯ         ϭϭ         ϳϲ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϱ        Ϭ        Ϯϯϰϱ          ϯϮ         ϭϭ         ϳϰ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϲ        Ϭ        ϮϮϵϳ          ϯϮ         ϭϭ         ϳϯ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϳ        Ϭ        ϮϮϱϬ          ϯϮ         ϭϭ         ϳϯ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϴ        Ϭ        ϮϮϬϯ          ϯϮ         ϭϭ         ϳϯ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϵ        Ϭ        Ϯϭϱϱ          ϯϮ         ϭϭ         ϳϮ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϬϬ        Ϭ        ϮϭϬϴ          ϯϭ         ϭϭ         ϳϭ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϭ        Ϭ        ϮϬϲϮ          ϯϭ         ϭϭ         ϳϭ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϬϮ        Ϭ        ϮϬϭϱ          ϯϭ         ϭϭ         ϳϭ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϯ        Ϭ        ϭϵϲϵ          ϯϭ         ϭϭ         ϳϭ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϰ        Ϭ        ϭϵϮϰ          ϯϬ         ϭϮ         ϳϭ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϱ        Ϭ        ϭϴϳϵ          ϯϬ         ϭϮ         ϳϭ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϲ        Ϭ        ϭϴϯϰ          ϯϬ         ϭϮ         ϳϭ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϳ        Ϭ        ϭϳϵϬ          Ϯϵ         ϭϮ         ϳϭ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϴ        Ϭ        ϭϳϰϲ          Ϯϵ         ϭϮ         ϳϭ          Ϭ           ϴϮ        ϲϵ /ĚůĞ             ϰϮ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϵ        Ϭ        ϭϳϬϮ          Ϯϵ         ϭϭ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϰϬ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϬ        Ϭ        ϭϲϱϴ          Ϯϵ         ϭϭ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϭ        Ϭ        ϭϲϭϲ          Ϯϴ         ϭϭ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϮ        Ϭ        ϭϱϳϰ          Ϯϴ         ϭϭ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϯ        Ϭ        ϭϱϯϭ          Ϯϴ         ϭϭ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϰ        Ϭ        ϭϰϴϵ          Ϯϴ         ϭϭ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KŶ    KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϱ        Ϭ        ϭϰϰϴ          Ϯϳ         ϭϭ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϲ        Ϭ        ϭϰϬϴ          Ϯϳ         ϭϭ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϳ        Ϭ        ϭϯϲϴ          Ϯϳ         ϭϭ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϴ        Ϭ        ϭϯϮϴ          Ϯϲ         ϭϮ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϵ        Ϭ        ϭϮϴϴ          Ϯϲ         ϭϮ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϮϬ        Ϭ        ϭϮϰϵ          Ϯϲ         ϭϮ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϭ        Ϭ        ϭϮϭϭ          Ϯϲ         ϭϮ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϮϮ        Ϭ        ϭϭϳϮ          Ϯϱ         ϭϮ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϯ        Ϭ        ϭϭϯϱ          Ϯϱ         ϭϮ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page39
                                                                                                          40of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϱ       ϴϱϮϴϮϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϱ       ϴϱϮϴϮϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϲ       ϴϱϮϴϮϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϲ       ϴϱϮϴϮϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϲ       ϴϱϮϴϮϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϲ       ϴϱϮϴϮϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϲ       ϴϱϮϴϮϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϳ       ϴϱϮϴϮϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϳ       ϴϱϮϴϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϳ       ϴϱϮϴϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϳ       ϴϱϮϴϮϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϴ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϴ       ϴϱϮϴϭϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϴ       ϴϱϮϴϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϴ       ϴϱϮϴϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϴ       ϴϱϮϴϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϴ       ϴϱϮϴϭϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϵ       ϴϱϮϴϭϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϵ       ϴϱϮϴϭϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϵ       ϴϱϮϴϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϵ       ϴϱϮϴϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϵ       ϴϱϮϴϭϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϰϵ       ϴϱϮϴϭϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϬ       ϴϱϮϴϭϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϬ       ϴϱϮϴϭϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϬ       ϴϱϮϴϭϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϬ       ϴϱϮϴϭϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϬ       ϴϱϮϴϭϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϬ       ϴϱϮϴϭϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϭ       ϴϱϮϴϭϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϭ       ϴϱϮϴϭϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϭ       ϴϱϮϴϭϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϭ       ϴϱϮϴϬϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϭ       ϴϱϮϴϬϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϭ       ϴϱϮϴϬϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϮ       ϴϱϮϴϬϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϮ       ϴϱϮϴϬϴ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page40
                                                                                                             41of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϰϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϴ͗ϱϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϬϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϬϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϮϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϮϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                 Case
                                                 Case3:20-cv-01018-RAH-SRW
                                                      3:20-cv-01018-RAH-SRW Document
                                                                            Document115-7
                                                                                     69-1 Filed
                                                                                          Filed04/19/21
                                                                                                12/14/21 Page
                                                                                                         Page41
                                                                                                              42of
                                                                                                                 of61
                                                                                                                    62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                   ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη       ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ          ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů    ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                             DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϰ        Ϭ        ϭϬϵϴ          Ϯϰ         ϭϯ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϱ        Ϭ        ϭϬϲϮ          Ϯϰ         ϭϯ         ϳϭ          Ϭ           ϴϬ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϲ        Ϭ        ϭϬϮϱ          Ϯϰ         ϭϯ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϳ        Ϭ         ϵϵϬ          Ϯϯ         ϭϯ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϴ        Ϭ         ϵϱϱ          Ϯϯ         ϭϯ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϵ        Ϭ         ϵϮϭ          Ϯϯ         ϭϯ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϬ        Ϭ         ϴϴϳ          ϮϮ         ϭϰ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϭ        Ϭ         ϴϱϯ          ϮϮ         ϭϰ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϮ        Ϭ         ϴϮϬ          Ϯϭ         ϭϰ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϯ        Ϭ         ϳϴϴ          Ϯϭ         ϭϰ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϰ        Ϭ         ϳϱϲ          Ϯϭ         ϭϰ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϱ        Ϭ         ϳϮϱ          ϮϬ         ϭϰ         ϳϭ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϲ        Ϭ         ϲϵϱ          ϮϬ         ϭϬ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϳ        Ϭ         ϲϲϱ          ϮϬ         ϭϬ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϴ        Ϭ         ϲϯϱ          ϮϬ           ϵ        ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϵ        Ϭ         ϲϬϲ          ϭϴ         ϭϭ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϬ        Ϭ         ϱϳϴ          ϭϴ         ϭϮ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϭ        Ϭ         ϱϱϭ          ϭϴ         ϭϮ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϮ        Ϭ         ϱϮϰ          ϭϴ         ϭϮ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϯ        Ϭ         ϰϵϳ          ϭϳ         ϭϮ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϰ        Ϭ         ϰϳϭ          ϭϳ         ϭϯ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϱ        Ϭ         ϰϰϲ          ϭϳ         ϭϯ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϲ        Ϭ         ϰϮϭ          ϭϲ         ϭϯ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϳ        Ϭ         ϯϵϳ          ϭϱ         ϭϰ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϴ        Ϭ         ϯϳϰ          ϭϱ         ϭϰ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϵ        Ϭ         ϯϱϭ          ϭϱ         ϭϰ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϬ        Ϭ         ϯϮϵ          ϭϰ         ϭϬ         ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϭ        Ϭ         ϯϬϳ          ϭϰ           ϴ        ϳϬ          Ϭ           ϳϴ        ϲϵ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϮ        Ϭ         Ϯϴϲ          ϭϯ         ϭϭ         ϳϬ          Ϭ           ϳϴ        ϲϲ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϯ        Ϭ         Ϯϲϳ          ϭϯ         ϭϭ         ϳϬ          Ϭ           ϳϴ        ϲϲ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϰ        Ϭ         Ϯϰϳ          ϭϯ         ϭϮ         ϲϴ          Ϭ           ϳϴ        ϲϰ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϱ        Ϭ         ϮϮϴ          ϭϮ         ϭϯ         ϲϳ          Ϭ           ϳϴ        ϲϰ /ĚůĞ             ϯϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϲ        Ϭ         ϮϭϬ          ϭϭ         ϭϰ         ϲϳ          Ϭ           ϳϴ        ϲϰ /ĚůĞ             ϰϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϳ        Ϭ         ϭϵϯ          ϭϭ         ϭϰ         ϲϳ          Ϭ           ϳϴ        ϲϰ /ĚůĞ             ϰϵ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϴ        Ϭ         ϭϳϲ          ϭϭ         ϭϴ         ϲϳ          Ϭ           ϳϴ        ϲϰ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϵ        Ϭ         ϭϲϬ           ϵ         Ϯϲ         ϲϳ          Ϭ           ϳϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ   Z^        EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page42
                                                                                                          43of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϮ       ϴϱϮϴϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϮ       ϴϱϮϴϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϮ       ϴϱϮϴϬϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϮ       ϴϱϮϴϬϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϮ       ϴϱϮϴϬϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϮ       ϴϱϮϴϬϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϯ       ϴϱϮϴϬϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϯ       ϴϱϮϴϬϱ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϯ       ϴϱϮϴϬϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϯ       ϴϱϮϴϬϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϯ       ϴϱϮϴϬϰ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϯ       ϴϱϮϴϬϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϯ       ϴϱϮϴϬϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϯ       ϴϱϮϴϬϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϰ       ϴϱϮϴϬϯ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϰ       ϴϱϮϴϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϰ       ϴϱϮϴϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϰ       ϴϱϮϴϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϰ       ϴϱϮϴϬϮ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϰ       ϴϱϮϴϬϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϰ       ϴϱϮϴϬϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϰ       ϴϱϮϴϬϭ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϴϬϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϴϬϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϴϬϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϴϬϬ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϳϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϳϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϳϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϳϱϵ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϳϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϳϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϳϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϱ       ϴϱϮϳϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϴ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϰϵ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϳ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page43
                                                                                                             44of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗Ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϰϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϰϵ͗ϱϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page44
                                                                                                             45of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                  ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη       ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ         ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů    ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                            DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϬϬ        Ϭ        ϭϰϱ           ϵ         Ϯϳ         ϲϳ          Ϭ           ϳϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϭ        Ϭ        ϭϯϭ           ϵ         Ϯϳ         ϲϳ          Ϭ           ϳϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϬϮ        Ϭ        ϭϭϳ           ϴ         Ϯϱ         ϲϳ          Ϭ           ϳϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϯ        Ϭ        ϭϬϱ           ϴ         Ϯϱ         ϲϳ          Ϭ           ϳϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϰ        Ϭ         ϵϯ           ϳ         ϭϲ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϱ        Ϭ         ϴϮ           ϳ         ϭϲ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϲ        Ϭ         ϳϬ           ϲ         ϮϮ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϳ        Ϭ         ϲϭ           ϲ         Ϯϰ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϴ        Ϭ         ϱϮ           ϲ         Ϯϰ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϵ        Ϭ         ϰϯ           ϱ         Ϯϳ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϬ        Ϭ         ϯϱ           ϰ         Ϯϵ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϭ        Ϭ         Ϯϴ           ϯ         Ϯϲ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϮ        Ϭ         Ϯϯ           ϯ         Ϯϯ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϯ        Ϭ         ϭϴ           ϯ         Ϯϯ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϰ        Ϭ         ϭϯ           Ϯ         ϮϬ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϱ        Ϭ          ϵ           ϭ         ϭϰ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϲ        Ϭ          ϲ           ϭ         ϭϰ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϳ        Ϭ          ϰ           ϭ         ϭϭ         ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϴ        Ϭ          Ϯ           Ϭ           ϴ        ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϵ        Ϭ          ϭ           Ϭ           Ϯ        ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϮϬ        Ϭ          ϭ           Ϭ           ϭ        ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϭ        Ϭ          ϭ           Ϭ           ϭ        ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϮϮ        Ϭ          ϭ           Ϭ           Ϯ        ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϯ        Ϭ          ϭ           Ϭ           ϯ        ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϰ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϱ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϰ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϲ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϯ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϳ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KŶ    Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϴ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϵ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϬ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϭ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϮ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϯ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϰ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϱ        Ϭ          Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page45
                                                                                                          46of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϳ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page46
                                                                                                             47of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϬϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϬϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϮϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϮϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗Ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                              Case
                                              Case3:20-cv-01018-RAH-SRW
                                                   3:20-cv-01018-RAH-SRW Document
                                                                         Document115-7
                                                                                  69-1 Filed
                                                                                       Filed04/19/21
                                                                                             12/14/21 Page
                                                                                                      Page47
                                                                                                           48of
                                                                                                              of61
                                                                                                                 62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^         ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη       ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ       ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W           KdW     Z    dŚƌŽƚƚůĞ Ăůů    ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                          DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ          ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϮ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϭ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϲ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϬϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϬϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ          Ϭ           ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page48
                                                                                                          49of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϬ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page49
                                                                                                             50of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϰϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϬ͗ϱϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϬϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϬϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                              Case
                                              Case3:20-cv-01018-RAH-SRW
                                                   3:20-cv-01018-RAH-SRW Document
                                                                         Document115-7
                                                                                  69-1 Filed
                                                                                       Filed04/19/21
                                                                                             12/14/21 Page
                                                                                                      Page50
                                                                                                           51of
                                                                                                              of61
                                                                                                                 62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^      ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη       ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ       ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W        KdW     Z    dŚƌŽƚƚůĞ Ăůů    ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                          DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ       ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ         Ϭ         ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ         Ϭ         ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ         Ϭ         ϳϬ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ         Ϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ         Ϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ         Ϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ         Ϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ         Ϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϮϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϰϯ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϰϯ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϮϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϲϵ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϲϵ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϲϵ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϬ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϴ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϳ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page51
                                                                                                          52of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page52
                                                                                                             53of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^    ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ZĞůĞĂƐĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϮϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϮϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗Ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ    ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                              Case
                                              Case3:20-cv-01018-RAH-SRW
                                                   3:20-cv-01018-RAH-SRW Document
                                                                         Document115-7
                                                                                  69-1 Filed
                                                                                       Filed04/19/21
                                                                                             12/14/21 Page
                                                                                                      Page53
                                                                                                           54of
                                                                                                              of61
                                                                                                                 62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^      ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη       ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ       ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W        KdW     Z    dŚƌŽƚƚůĞ Ăůů    ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                          DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ       ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϬϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϬϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϮ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ             ϱϭ KŶ         KŶ       KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ              ϳ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϮϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϱ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϮϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϱ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ              Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page54
                                                                                                          55of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϰϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϭ͗ϱϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϬϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϬϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϭϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϮϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϮϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page55
                                                                                                             56of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^   ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϰϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϭ͗ϱϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϬϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϬϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϭϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϮϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϮϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
                                              Case
                                              Case3:20-cv-01018-RAH-SRW
                                                   3:20-cv-01018-RAH-SRW Document
                                                                         Document115-7
                                                                                  69-1 Filed
                                                                                       Filed04/19/21
                                                                                             12/14/21 Page
                                                                                                      Page56
                                                                                                           57of
                                                                                                              of61
                                                                                                                 62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ ϭϰ͗ϱϮ͗ϰϴ                ϰϬ͘ϳϱ    ϲϴϳϵϴϲ >^/Ͳ^yͲϯ /dD^      ^ƚĂƌƚdŝŵĞ ηηηηηηηη ϭϰ͗ϰϮ͗ϰϴ ŶĚdŝŵĞ ηηηηηηηη      ϭϰ͗ϱϮ͗ϰϴ
ĂƚĞ        dŝŵĞ     DŝůĞƐ     &ĞĞƚ       ^ƉĞĞĚ     dƌĂĐĨĨŽƌƚ W        KdW     Z    dŚƌŽƚƚůĞ Ăůů   ^ƚĂƌƚ   ^ĞƚƵƉ ,ŽƌŶ / W^KƉĞŶ ŝƌĂůů Ğůů Ăď^ŝŐŶĂů WĞŶĂůƚǇ WĞŶůĞƌƚĞƌ
                                          DW,       ŬůďƐ        ƉƐŝ       ƉƐŝ       ƉƐŝ        ƉƐŝ                й
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϵ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϬ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϭ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϮ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϯ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϰ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϱ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϲ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϲ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϱ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϳ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϱ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϴ        Ϭ        Ϭ           Ϭ           Ϭ        ϲϰ        ϳϭ         ϲϱ        ϲϰ /ĚůĞ             Ϭ KĨĨ        KĨĨ      KĨĨ   KĨĨ   ůŽƐĞĚ   &Žƌ    KĨĨ   Z^       EŽ          EŽ
                                             Case
                                             Case3:20-cv-01018-RAH-SRW
                                                  3:20-cv-01018-RAH-SRW Document
                                                                        Document115-7
                                                                                 69-1 Filed
                                                                                      Filed04/19/21
                                                                                            12/14/21 Page
                                                                                                     Page57
                                                                                                          58of
                                                                                                             of61
                                                                                                                62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      s KdŵĞƌŶĂďůĞĚ   KdƌŵĞĚ ŵĞƌŐĞŶĐǇƌĂŬĞ   d>D KdŵĞƌƵŵƉ   Ăď^ŝŐdĞƌƌŝƚŽƌǇ   'W^sĞƌͬK Ăď^ŝŐͬK >ŽƐƐŽĨ'W^ &ŽƌĐĞĂƚĂtƌŝƚĞ   'W^>ĂƚŝƚƵĚĞ   'W^>ŽŶŐŝƚƵĚĞ   Ăď^ŝŐWĞŶ
                                                                                                                                                                         D^            D^
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗Ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϯϵ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϬ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϭ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϮ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϯ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϰ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϱ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϲ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϳ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
ϭϬͬϰͬϮϬϭϴ    ϭϰ͗ϱϮ͗ϰϴ   KĨĨ   KŶ             zĞƐ       KĨĨ               KĨĨ   KĨĨ            ^K                 EŽ          EŽ           EŽ          EŽ                ϯϮϯϲϱϲ       ϴϱϮϳϱϲ        EŽ
                                                Case
                                                Case3:20-cv-01018-RAH-SRW
                                                     3:20-cv-01018-RAH-SRW Document
                                                                           Document115-7
                                                                                    69-1 Filed
                                                                                         Filed04/19/21
                                                                                               12/14/21 Page
                                                                                                        Page58
                                                                                                             59of
                                                                                                                of61
                                                                                                                   62




       ϱϮϴϬ ϭϬͬϰͬϮϬϭϴ
ĂƚĞ        dŝŵĞ      ƌƵŝƐĞŽŶƚƌŽů   >&ƌŽŶƚ ,>&ƌŽŶƚ ,>ZĞĂƌ ƌĂŬĞ^ĞƚƵƉ   /^   ƌĂŬĞ,ĂŶĚůĞ   WĞŶdǇƉĞ   KdĂƚƚ>Žǁ KdDĂƌŬĞƌ KdƵŵƉͬsĞŶƚ   KdsĂůǀĞ&Ăŝů   KdŽŵŵ^ƚĂƚƵƐ

ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗Ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϯϵ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϰϬ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϰϭ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϰϮ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϰϯ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϰϰ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϰϱ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϰϲ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϰϳ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
ϭϬͬϰͬϮϬϭϴ     ϭϰ͗ϱϮ͗ϰϴ   KĨĨ           KŶ       KŶ       KĨĨ     &ƌƚ               ƉƉůŝĞĚ   ^ĞƌǀŝĐĞ            EŽŶĞ           K<          KĨĨ        /ŶĂĐƚŝǀĞ         K<               ŽŵŵK<
    Case
    Case3:20-cv-01018-RAH-SRW
         3:20-cv-01018-RAH-SRW Document
                               Document115-7
                                        69-1 Filed
                                             Filed04/19/21
                                                   12/14/21 Page
                                                            Page59
                                                                 60of
                                                                    of61
                                                                       62




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                            EASTERN DIVISION

MADISEN ULRICH,           )
                          )
     Plaintiff,           )
                          )
v.                        )                          Case No.: 3:20-cv-1018-RAH-SRW
                          )
319 BRAGG STUDENT HOUSING )
AUBURN, AL, et al.,       )
                          )
     Defendants.          )

                           AFFIDAVIT OF MICHAEL RAY




                                        Exhibit B

Locomotive Digital Video Recorder (LDVR) video from CSXT
locomotive 5280 depicting the subject accident. (CSXT will
supplement its Evidentiary Submission by hand-delivering to the
Court a USB flash drive containing the LDVR video1).




1
  Plaintiff is in the process of obtaining the license and software necessary to view the LDVR
video. Upon Plaintiff’s receipt of the license and software, CSXT will provide a copy of the LDVR
video to Plaintiff. The parties have also jointly filed a motion for Protective Order to govern the
disclosure and use of such LDVR video.
 Case
 Case3:20-cv-01018-RAH-SRW
      3:20-cv-01018-RAH-SRW Document
                            Document115-7
                                     69-1 Filed
                                          Filed04/19/21
                                                12/14/21 Page
                                                         Page60
                                                              61of
                                                                 of61
                                                                    62




            IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF ALABAMA
                      EASTERN DIVISION

MADISEN ULRICH,           )
                          )
     Plaintiff,           )
                          )
v.                        )           Case No.: 3:20-cv-1018-RAH-SRW
                          )
319 BRAGG STUDENT HOUSING )
AUBURN, AL, et al.,       )
                          )
     Defendants.          )

                   AFFIDAVIT OF MICHAEL RAY




                            Exhibit C
Case
Case3:20-cv-01018-RAH-SRW
     3:20-cv-01018-RAH-SRW Document
                           Document115-7
                                    69-1 Filed
                                         Filed04/19/21
                                               12/14/21 Page
                                                        Page61
                                                             62of
                                                                of61
                                                                   62
